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1                                            THE HONORABLE FRANKLIN D. BURGESS
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                             UNITED STATES DISTRICT COURT
9                           WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
10
     UNITED STATES OF AMERICA,                        )
11                                                    )         NO. CR04-5460FDB
                          Plaintiff,                  )
12                                                    )         ORDER GRANTING UNITED
                                                      )         STATES’ FIFTH
13          v.                                        )         APPLICATION FOR A
                                                      )         PROTECTIVE ORDER TO
14   TOBIAS GRACE, and                                )         MAINTAIN CUSTODY OF
     SCOTT LANEY,                                     )         PROPERTY AND TO
15                                                    )         RESTRAIN DISPOSITION OF
                          Defendants.                 )         CERTAIN PROPERTY
16                                                    )
                                                          )
17
             This matter comes before the Court upon motion of the United States for a
18
     protective order, pursuant to 18 U.S.C. § 983(a)(3)(B)(ii) and 21 U.S.C. § 853(e)(1)(A),
19
     to maintain custody of certain property and to restrain disposition of certain property
20
     named for forfeiture in the Third Bill of Particulars filed in this matter. Having reviewed
21
     the United States’ motion, the Court finds:
22
            The property to which this order refers (“the property”) is as follows:
23
            A.      $30,000.00 in United States Currency turned over to the Federal Bureau of
24
                    Investigation (FBI) by Tobias Grace on February 14, 2005.
25
            B.      $90,000 in funds currently held in the Trust Account of Barry L.
26
                    Flegenheimer, Attorney for Tobias Grace, comprised of the following:
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                    1.    $20,000 in funds, withdrawn by Monica Grace from the First
28
                          Independent Bank in August, 2004, and subsequently turned over to
     FIFTH PROTECTIVE ORDER/GRACE & LANEY - 1                                     UNITED STATES ATTORNEY
     CR04-5460FDB                                                                  700 Stewart Street, Suite 5220
                                                                                  Seattle, Washington 98101-1271
                                                                                           (206) 553-7970
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1                          Attorney Flegenheimer.
2                   2.     $20,000 in funds received by Monica Grace from Tim Foss in
3                          approximately September, 2004 and subsequently turned over to
4                          Attorney Flegenheimer.
5                   3.     $50,000 in funds received by Tobias Grace from Tim Foss in
6                          approximately, September and December, 2004 and subsequently
7                          turned over to Attorney Flegenheimer
8           The property has been named in a Third Bill of Particulars to the Indictment in this
9    case as subject to forfeiture. The $30,000 listed in paragraph A above is currently in the
10   custody of the United States Marshals Service, and is subject to administrative forfeiture
11   notice and claim proceedings under 18 U.S.C. § 983. The $90,000 listed in paragraph B
12   above, is currently in the custody of Attorney Barry L. Flegenheimer. The United States
13   has alleged that the property is subject to forfeiture under Counts I and II of the
14   Indictment herein.
15          The United States is entitled to a protective order pursuant to 21 U.S.C. §
16   853(e)(1)(A) based on the fact that the property is named for forfeiture in a Bill of
17   Particulars to the Indictment herein which contains the allegation that, upon conviction,
18   the property is subject to forfeiture. It is therefore
19          ORDERED AND ADJUDGED:
20          1. The United States, motion for a protective order is GRANTED.
21          2. The $30,000 identified in paragraph A above, shall remain in the custody of the
22   United States Marshal’s Service, pending further order of this Court.
23          3. The $90,000 identified in paragraph B above, shall remain in the trust account
24   of Mr. Flegenheimer, and shall not be withdrawn, debited against, or otherwise disposed
25   of, pending further order of this Court.
26   //
27   //
28   //

     FIFTH PROTECTIVE ORDER/GRACE & LANEY - 2                                      UNITED STATES ATTORNEY
     CR04-5460FDB                                                                   700 Stewart Street, Suite 5220
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1           4. The Clerk is Ordered to send copies of this Order to counsel for all parties of
2    record.
3           Dated this 13th day of May 2005
4

5                                               /s/ Franklin D Burgess
                                               FRANKLIN D BURGESS
6                                              UNITED STATES DISTRICT JUDGE
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8    Presented by:
9

10       /s/ Peter O. Mueller
     Peter O. Mueller
11   Assistant United States Attorney
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     FIFTH PROTECTIVE ORDER/GRACE & LANEY - 3                                    UNITED STATES ATTORNEY
     CR04-5460FDB                                                                 700 Stewart Street, Suite 5220
                                                                                 Seattle, Washington 98101-1271
                                                                                          (206) 553-7970
